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 1   THOMAS A. JOHNSON, #119203
     KRISTY M. KELLOGG, #271250
 2   Law Office of Thomas A. Johnson
     400 Capitol Mall, Suite 1620
 3
     Sacramento, California 95814
 4   Telephone: (916) 422-4022
     Attorneys for Florence Francisco
 5
 6
                           IN THE UNITED STATES DISTRICT COURT
 7
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                 )   Case No.: 2:13-cr-00103-MCE
               Plaintiff,                      )
10                                             )
          v.
                                               )   STIPULATION AND ORDER FOR
11                                             )   CONTINUANCE OF JUDGMENT AND
     Florence Francisco,                       )   SENTENCING
12                                             )
                  Defendant.                   )
13                                             )
                                               )
14
15
16         IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
17   Judgment and Sentencing scheduled for July 30, 2015, at 9:00 a.m. is continued to
18   December 17, 2015, at 9:00 a.m. in the same courtroom. Probation has also been
19   informed of the continuance request. Defendant needs additional time to prepare for
20   sentencing and requested a continuance.
21   ///
22   ///
23   ///
24   ///
25   ///
26   ///
27   ///
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 1   Todd Pickles, Assistant United States Attorney, and Thomas A. Johnson, Defendant’s
 2   attorney, agree to this continuance.
 3
 4   IT IS SO STIPULATED.
 5
     DATED: June 30, 2015                          By:   /s/ Thomas A. Johnson
 6                                                       THOMAS A. JOHNSON
                                                         Attorney for Florence Francisco
 7
 8
 9
10   DATED: June 30, 2015                                BENJAMIN B. WAGNER
                                                         United States Attorney
11
                                                   By:   /s/ Thomas A. Johnson for
12                                                       TODD PICKLES
                                                         Assistant United States Attorney
13
14
            IT IS SO ORDERED.
15
16   Dated: June 30, 2015
17
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              Case 2:13-cr-00103-KJM Document 242 Filed 07/02/15 Page 3 of 3



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 4
                              IN THE UNITED STATES DISTRICT COURT
 5
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 6
 7
     UNITED STATES OF AMERICA,                      )   Case No. 2:13-cr-00103-MCE
 8             Plaintiff,                           )
          v.                                        )
 9                                                  )   MODIFICATION OF SCHEDULE FOR
                                                    )   PRE-SENTENCE REPORT AND FOR
     FLORENCE FRANCISCO,                                FILING OF OBJECTIONS TO THE PRE-
10            Defendant.                            )
                                                    )   SENTENCE REPORT
11                                                  )
                                                    )
12                                                  )
13
14   Judgment and Sentencing date:                             December 17, 2015

15
     Reply or Statement                                        December 10, 2015
16
17   Motion for Correction of the Pre-Sentence
     Report shall be filed with the court and                  December 3, 2015
18   served on the Probation Officer and opposing
     counsel no later than:
19
20   The Pre-Sentence Report shall be filed with
     the court and disclosed to counsel no later               November 19, 2015     __
21   than:
22
     Counsel’s written objections to the Pre-
23   Sentence Report shall be delivered to the                 November 5, 2015
     Probation Officer and opposing counsel
24   no later than:
25
     The proposed Pre-Sentence Report                          October 22, 2015
26   shall be disclosed to counsel no later than:
27
28

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